                                      Case 2:17-cv-03957-DS Document 1 Filed 08/25/17 Page 1 of 9

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 purpoie of initiating tlie civi_l ~ket sheet. (SEE INSTRUCI'IONS ON NEXT PAGE OF THIS FORM)

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 provtdcd by local ruJcS of court. This fonQ, approved by the Judlc:ial O>ofcrence of the United Statce in September 1974, ts requiml for thC uae of the Clerk-of Court for




     (b) Cowrty of Residence of F~ Plainti                                                                                   Collnty of~of:t:im·Listed Defendant
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- Steven Laynas, Esquire, Laynas 8r Georges,-V.C.
 1500 JFK Boulevard. Suite 1300, Philadelphia, PA 19102


 II. BASIS OF JURISDICTION {Pia<:. an ·~rill~ Bo:rOnly)                              -_              ill. --CITIZENS~ OF PRINCIPAL PARTIES (Plae117111 ·r;,,
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VI CAUSE OF ACTION
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VIII. RELATED CASE(S)
     _IF ANY   -                              (SM instructions): _   ruDGE                                                                                   DOCKET NlJMBER.
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DATE


FOR OFFICE USE ONLY

     RECEIPT#                    AMOUNT                                       APPLYING IFP                                              nJDGE                                            MAG_ JUDGE
                                  Case 2:17-cv-03957-DS Document 1 Filed 08/25/17 Page 2 of 9
   ';-'

                                                               UNITED STATES DISTRICT COURT
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                                 OF PENNSYLVANIA - DESIGNATION FORM to be 1,1sed by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff:    2443 S. American Street, Philadelphia, PA                                                         19148
AddressofDefendant:           615 Chestnut Street, Suite 1250, Philadelphia, PA                                                                       19106
Place of Accident, Incident or Transaction:      Philadelphia, PA                                                                                         ..,
                                                                           (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning }
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7 .1 (a))                                    YesD          J.lo(]I:


Does this case Involve multidistrict litigation possibilities?                                                                     YesD
RELATED CASE, IF ANY:
Case Number:                                         Judge                                                Date T e r m i n a t e d : - - - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in th!


2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year prevf,
   action in this court?
                                                                                                                               Yes
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one
   terminated action in this court?                                                                                                Yes

4. Is this case a second or successive habeas corpus, social security appeal, or prose civil rights case filed by the same individual?
                                                                                                                                   YesD

CIVIL: (Place I/ in ONE CATEGORY ONLY)




                                                                                                          -o
A Federal Question Cases:                                                                                   B. Diversity Jurisdiction Cases:
1. D Indemnity Contract, Marine Contract,                    and All Other Contracts                         1. D Insurance Contract and Other Contracts
2. D FELA                                                                                                   2. D Airplane Personal Injury
3. D Jones Act-Personal Injury                                                                                     Assault, Defamation
4. D Antitrust                                                                                                     Marine Personal Injury
5. D Patent                                                                                                   .    Motor Vehicle Personal Injury
6. D Labor-Management Relations                                                                                                  6. D Other Personal Injury (Please
                                                                                                                                 specify)
7. D Civil Rights                                                                                           7. D Products Liability
8. D Habeas Corpus                                                                                          8. D Products Liability - Asbestos
9. D Securities Act(s) Cases                                                                                9. D All other Diversity Cases
10. D Social Security Review Cases                                                                                                          (Please specify)

11. D All other Federal Question Cases
           (Please specify)
                                                                    ARBITRATION CERTIFICATION




~
                                                                             (Check Appropriate Category)
   8,_teven Laynas                                               , counsel of record do hereby certify:
   gc ursuant to Local Civil Rule 53.2, Section 3(c)(2), thay{q7Jhe b~ my knowledge and belief, the damages recoverable In this civil action case exceed the sum of
     ,     0.00 exclusive of interest and costs;
          Relief £ther tha11J1T1onetary damages is sought.


DATE: g. I ~ Vf               '
                                                                                                                                     33906
                                                                 nrnl!y-atLLaw {)                                                        Attorney l.D.#
                                                      trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.


I certify that, to my knowledge, the within case i                           case now pending or within one year previously terminated action in this court

                                                                                                                                                              AUG 25 2017
                                                                                      ~                                             33906
                                                                                                                                         Attorney LD.#
CIV. 609 (6/08)
                  Case 2:17-cv-03957-DS Document 1 Filed 08/25/17 Page 3 of 9
,.
      MSG                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                         CASE MANAGEMENT TRACK DESIGNATION FORM
      HATEM BEDHIAF                                                               CIVIL ACTION

                            v.
                                                                                            17           3957
      UNITED STATES OF AMERICA                                                    NO.

     In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
     plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
     filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
     side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
     designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
     the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
     to which that defendant believes the case should be assigned.

     SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
     (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )

     (b) Social Security - Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits.                                   ( )

     (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

     (d) Asbestos - Cases involving claims for personal injury or property damage from
         exposure to asbestos.                                                                            ( )

     (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
         commonly referred to as complex and that need special or intense management by
         the court. (See reverse side of this form for a detailed explanation of special
         management cases.)

     (f) Standard Management - Cases t
                                                                                                       fj
     Date
         'ti -z:z,(1]                                                    Plaintiff, Hatem Bedhiaf
                                                                            Attorney for
     215-851-8700                    267-282-0422                          SLaynas@Laynaslaw.com

     Telephone                           FAX Number                           E-Mail Address


     (Civ. 660) 10/02




                                                                                      AUG 25 2017
             Case 2:17-cv-03957-DS Document 1 Filed 08/25/17 Page 4 of 9




              SG       HE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA


HATEM BEDHIAF
2443 S. American Street
Philadelphia, PA 19148                                                       11    TN,1
                              Plaintiff
                                                                            1(2~    d     3957
        v.                                           NO.

UNITED STATES OF AMERICA
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106,

                              Defendant


                                  CIVIL ACTION COMPLAINT

        Plaintiff, Hatem Bedhiaf, by and through his attorneys, Laynas & Georges, P .C., hereby

avers the following:

I.      JURISDICTION

        1.     Jurisdiction of this Court arises under the FTCA, ch. 753, title IV, 60 Stat. 842, 28

U.S.C. § 1346(b) and 28 U.S.C. § 2671-2680.

II.     PARTIES

        2.     Plaintiff, Hatem Bedhiaf, is an individual and citizen of Pennsylvania who resides

at the above-captioned address.

        3.     United States of America, is a Defendant in this action pursuant to 28 U.S.C. §

2679.

        4.     Pursuant to § 2679 of the FTCA, the United States of America shall be substituted

for the federal employees through which the tort claims arise.
             Case 2:17-cv-03957-DS Document 1 Filed 08/25/17 Page 5 of 9




       5.      Jason Chader Salvo is an individual who, upon information and belief, is an

employee of the United States Government in the Department of the Navy acting within the

course and scope of his employment at the time of this accident.

       6.      Therefore, the Defendant, United States of America, and Jason Chader Salvo are

each responsible and liable for the acts of the other.

       7.      It is believed and therefore averred that at all times material hereto, Jason Chader

Salvo, was the employee, agent, servant or ostensible agent, employee or servant of the

Defendant, United States of America.

III.   VENUE

       8.      Since, at all times material hereto, the tortious conduct occurred within

Philadelphia County, Defendant is subject to the venue of the United States District Court for the

Eastern District of Pennsylvania, seated in Philadelphia, Pennsylvania.

       9.      Plaintiff demands a trial by jury.

IV.    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       10.     Pursuant to §2675 of the FTCA, Plaintiff sent notice of his claim to the United

States Department of the Navy on November 10, 2016 via certified mail.

       11.     On or about January20, 2017, Plaintiff received a letter from the United States

Department of the Navy acknowledging receipt of plaintiffs claim and requesting additional

information.

V.     OPERATIVE FACTS

       12.     On or about April 2, 2015, at or about 11 :00 a.m., plaintiff was the operator of an

automobile proceeding on Pennsylvania Avenue, at or near its intersection with 22nd Street, both

public thoroughfares in the City and County of Philadelphia, Commonwealth of Pennsylvania.


                                                    2
             Case 2:17-cv-03957-DS Document 1 Filed 08/25/17 Page 6 of 9




       13.     On or about April 2, 2015, at or about 11:00 a.m., defendant, by and through its

agent, servant and/or employee Jason Chader Salvo, was the operator of a motor vehicle which

was proceeding on 22nd Street, at or near its intersection with Pennsylvania Avenue, both public

thoroughfares in the City and County of Philadelphia, Commonwealth of Pennsylvania.

       14.     As the vehicles were proceeding as aforesaid, defendant, by and through its agent,

servant and/or employee, Jason Chader Salvo, failed to stop for a red traffic signal for traffic

proceeding on 22nd Street and negligently entered the intersection without regard to said red

traffic signal and caused the vehicles to violently collide, with the result that plaintiff suffered

severe and serious injuries and damages as are hereinafter set forth.

       15.     The negligence of Jason Chader Salvo is included, but is not limited to, the

following:

               (a)    In operating a motor vehicle at a high, dangerous and reckless rate of

                       speed under the circumstances;

               (b)    In failing to have his motor vehicle under proper control under the

                      circumstances;

               (c)    In that the driver was inattentive and failed to maintain a sharp lookout of

                      the road and surrounding traffic conditions;

               (d)    In failing to maintain the vehicle in a proper mechanical condition;

               (e)    In failing to operate the brakes in such a manner as to cause the vehicle to

                       stop in time to avoid the collision;

               (f)    In failing to observe that care and caution required under the

                      circumstances;




                                                  3
             Case 2:17-cv-03957-DS Document 1 Filed 08/25/17 Page 7 of 9




               (g)     In violating the various statutes and municipal ordinances pertaining to the

                       operation of motor vehicles on public thoroughfares under the

                       circumstances;

               (h)     In failing to obey the traffic signal controlling defendant's lane of traffic;

               (i)     In failing to stop for a red traffic signal controlling the intersection; and

               G)      In failing to maintain a reasonable lookout for the presence of other motor

                       vehicles on the roadway.

       16.     Solely as a result of the negligence of defendant, by and through its agent, servant

and/or employee, Jason Chader Salvo, as aforesaid, plaintiff, Hatem Bedhiaf, has sustained the

following injuries, all of which are or may be of a serious and permanent nature, including disc

herniations at L3, L4, L5; midsubstance tear of the radial collateral ligament of MCP joint which

required repair and MP pinning, a surgical procedure; cervical sprain and strain; left upper

extremity radiculopathy; lumbar sprain and strain; bilateral lower extremity radiculopathies; and

other severe and serious injuries, the full extent of which are not known at present, including

possible aggravation and activation of pre-existing injuries.

       17.     As a result of the injuries as aforesaid, plaintiff, Hatem Bedhiaf, has sustained the

following damages:

               (a)     Said plaintiff has been and will be required to in the future expend large

                       sums of money for surgical and medical attention, hospitalization, medical

                       supplies, surgical appliances, medicines and attendant services;

               (b)     Said plaintiff has been injured;

               (c)     Said plaintiff has suffered and will continue to suffer great pain, suffering,

                       inconvenience, embarrassment and mental anguish;




                                                  4
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                (d)     Said plaintiff has been deprived of earnings;

                (e)     Said plaintiff has been disfigured;

                (f)     Said plaintiffs general health, strength and vitality have been impaired;

                (g)     Said plaintiff has suffered a loss of the enjoyment of life.

        18.     As a further result of the accident, Plaintiff, Hatem Bedhiaf, has and probably will

in the future, be obliged to receive and undergo medical attention and care and will incur various

expenditures for the injuries she has suffered.

        19.     As a further result of the negligence of defendant, by and through its agent,

servant and/or employee, Jason Chader Salvo, Plaintiff, Hatem Bedhiaf, has been unable to

attend to his daily chores, duties and occupations, and he will be unable to do so for an indefinite

time in the future, all to his great financial detriment and loss.

        20.     As a further result of the negligence of defendant, by and through its agent,

servant and/or employee, Jason Chader Salvo, Plaintiff, Hatem Bedhiaf, has suffered severe pain,

mental anguish, humiliation and embarrassment, and he will continue to suffer same for an

indefinite period of time in the future.

        21.     As a further result of the negligence of defendant, by and through its agent,

servant and/or employee, Jason Chader Salvo, Plaintiff, Hatem Bedhiaf, has and/or will incur

various unpaid reasonable, necessary medical expenses and custodial care expenses that are

causally related to the injuries sustained in the above referenced accident all to his detriment and

loss.




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      WHEREFORE, Plaintiff, Hatem Bedhiaf, demands judgment in his favor and against

Defendant, United States of America, for compensatory and delay damages.



                                          Respectfully submitted,




                                          By:        ...,,
                                                  teven Laynas, Esquire
                                                 1500 J.F.K. Boulevard, Suite 1300
                                                 Philadelphia, PA 19102
                                                 Tel: (215) 851-8700
                                                 Fax: (267) 282-0422
                                                 Email: SLaynas@Laynaslaw.com

                                                 Attorneys for Plaintiff




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